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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA     iir1' u, Mi
                           SAVANNAH DIVISION

CHARLES C . COLLINS,              )

        Petitioner,
                                        CASE NO. CV4I0-277

UNITED STATES OF AMERICA,

        Respondent.


                               0 RD ER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doe. 5), to which objections have been filed

(Doc. 7) .     After a careful de novo review of the record, the
Court concludes that Petitioner's objections are without merit.
Accordingly, the report and recommendation is ADOPTED as the

Court's opinion in this case and Petitioner's 28 U.S.C. § 2255

Petition is DENIED. As noted in the report and recommendation,

the Court declines to grant Petitioner a Certificate of

Appealability, rendering moot any request for leave to appeal in

forma pauperis. The Clerk of Court is DIRECTED to close this

case.

        50 ORDERED this /'day of December 2011.




                                 WILLIAM T. MOORE,
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
